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                       EXHIBIT F
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU

          SDN LIMITED and STEVEN NERAYOFF,

                                              Plaintiffs,                     Index No. 607805/2024

                                  v.                                          Motion Sequence No. 1

          IOV LABS LIMITED, RIF LABS LIMITED, RSK                             NOTICE OF MOTION
          LABS LIMITED, DIEGO GUTIERREZ ZALDIVAR,
          and ALEJANDRO MARIA ABERG COBO a/k/a ALEX
          COBO,

                                              Defendants.


                  PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, dated

         August 21, 2024; the supporting Affirmation of John Piskora, Esq. (with the exhibits thereto),

         dated August 21, 2024; and all prior proceedings and filings made herein, Plaintiffs SDN Limited

         and Steven Nerayoff, by their attorneys, Loeb & Loeb LLP, will move this Court, on August 30,

         2024, at 9:30 a.m., or as soon thereafter as counsel can be heard, will move this Court before a

         Commercial Division Justice to be assigned, at the Courthouse located at 100 Supreme Court

         Drive, Mineola, New York 11501, for the entry of an Order, pursuant to CPLR 306-b, enlarging

         the time for service upon the foreign Defendants IOV Labs Limited, RIF Labs Limited, RSK Labs

         Limited, Diego Gutierrez Zaldivar, and Alejandro Maria Aberg Cobo a/k/a Alex Cobo for an

         additional 120 days.

                  PLEASE TAKE FURTHER NOTICE that, pursuant to CPLR 2214(b), answering

         papers, if any, shall be filed and served at least two (2) days prior to the return date.




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         Dated: New York, New York
                August 21, 2024
                                            LOEB & LOEB LLP


                                            By:     /s/ John A. Piskora
                                                   John A. Piskora
                                                   David A. Forrest
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                                                   New York, NY 10154
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                                                   dforrest@loeb.com

                                                   Attorneys for Plaintiffs
                                                   SDN Limited and Steven Nerayoff




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